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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

 Jane Doe-2,                                             Civil Action No. 3:20-cv-02274-CMC

                            Plaintiff,
                vs.                                         Order Granting Plaintiff’s
                                                          Motion to Proceed Anonymously
 Richland County School District 2, Jeff                            (ECF No. 8)
 Temoney, Sheriff of Richland County in his
 official capacity d/b/a Richland County
 Sheriff's Department, Sheriff Leon Lott, and
 Captain John E. Ewing,

                           Defendants.


       Plaintiff Jane Doe-2 (“Plaintiff”) has filed a motion to proceed anonymously. ECF No. 8.

Defendants Richland County School District 2 and Jeff Temoney filed a response noting they do

not object to Plaintiff being referred to by pseudonym in the public filings in the case, but request

the ability to seek discovery under her given name. ECF No. 17. They also argue Plaintiff should

not be known as “Jane Doe-2,” but simply Jane Doe, as the previous Jane Doe case with similar

allegations has concluded. Id. at 3. Defendants Sheriff of Richland County in his official capacity

d/b/a Richland County Sheriff's Department, Sheriff Leon Lott, and Captain John E. Ewing also

responded with the same arguments: they do not object to Plaintiff proceeding anonymously, but

request to use her given name in discovery as needed, and that she use a variant other than “Jane

Doe-2.” ECF No. 19. Plaintiff filed the same response in reply to both responses, agreeing

Defendants should be permitted to use her true name during investigation of this case, outside

depositions. ECF Nos. 20, 21. However, she argues use of the numeral “-2” after Jane Doe is the

“least misleading and most efficient manner for her to be identified during discovery,” as many
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witnesses and parties in this action are the same as the previous action, where the minor plaintiff

was identified as “Jane Doe.” Id. at 1-2.

       After analysis of the factors in James v. Jacobson, 6 F.3d 233, 238 (4th Cir. 1993), the

court finds the balance of the following factors weighs in favor of granting the motion: “whether

the justification asserted by the requesting party is merely to avoid the annoyance and criticism

that may attend any litigation or is to preserve privacy in a matter of sensitive and highly personal

nature; whether identification poses a risk of retaliatory physical or mental harm to the requesting

party or even more critically, to innocent non-parties; the ages of the persons whose privacy

interests are sought to be protected; whether the action is against a governmental or private party;

and, relatedly, the risk of unfairness to the opposing party from allowing an action against it to

proceed anonymously.” Specifically, Jane Doe-2’s claims are “in a matter of a sensitive and highly

personal nature,” and proceeding anonymously would allow her to preserve her privacy – the

request is not merely to avoid annoyance and criticism. Id. Additionally, identification does pose

a risk for retaliation; due to the nature of the allegations, disclosure of her identity would be

undesirable, even though she is over the age of legal majority currently (she was a minor at the

time of the alleged acts against her). Defendants include a governmental entity and a private party,

but the risk of unfairness to the opposing parties is slight as Plaintiff agrees Defendants will be

allowed to utilize her true name in discovery other than depositions.

       Further, the court agrees with Plaintiff the least confusing anonymous identifier for

Plaintiff is Jane Doe-2. Although Defendants School District and Temoney are correct the

previous Jane Doe case has concluded, many witnesses will be the same in this case and there may
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be confusion in depositions if both plaintiffs were referred to as Jane Doe. A different unique

identifier, such as Janie Doe or Jane Roe, would be preferable to simply repeating the use of Jane

Doe; however, the court believes similar confusion could persist in depositions, as these other

proposed identifiers do not greatly differ from Jane Doe. Jane Doe-2, on the other hand, is clearly

and easily distinguishable. Although Defendants argue this will lead to confusion because

Plaintiff’s claims precede in time Jane Doe’s in the previous litigation, the court agrees with

Plaintiff this specific confusion can be alleviated more easily than others, as in the similar cases

cited in Plaintiff’s Reply (ECF Nos. 20, 21 at 2).

       Accordingly, the court grants the motion, and Jane Doe-2 will be allowed to proceed

anonymously and under that pseudonym.

       IT IS SO ORDERED.

                                                             s/Cameron McGowan Currie
                                                             CAMERON MCGOWAN CURRIE
                                                             Senior United States District Judge
Columbia, South Carolina
August 3, 2020




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